            Case 8-18-72852-reg             Doc 26-2        Filed 08/01/18       Entered 08/01/18 10:55:18


                                                   Notice Recipients
District/Off: 0207−8                      User: smarcus                        Date Created: 8/1/2018
Case: 8−18−72852−reg                      Form ID: pdf000                      Total: 7


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
cr          Rushmore Loan Management Services, LLC as servicing agent for U.S. Bank, National Association as Legal Title
            Trustee for Truman 2013 SC3 Title Trust
                                                                                                                 TOTAL: 1

Recipients of Notice of Electronic Filing:
ust         United States Trustee         USTPRegion02.LI.ECF@usdoj.gov
aty         Courtney R. Williams           cwilliams@grosspolowy.com
aty         John P. Fazzio         jfazzio@fazziolaw.com
                                                                                                               TOTAL: 3

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Doreen Hoffman       163 Roe Avenue       Patchogue, NY 11772
aty         John Fazzio      Fazzio Law      26 Broadway       21st Floor      New York, NY 10004
9258018     Rushmore Loan Management        PO Box 52708        Irvine, CA 92619
                                                                                                               TOTAL: 3
